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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                              JUDGE CHARLOTTE N. SWEENEY


Civil Action:         23-cv-00525-CNS-KLM                   Date: July 11, 2023
Courtroom Deputy:     Julie Dynes                           Court Reporter: Sarah Mitchell

                Parties                                                 Counsel

 EARL FENNER JR.                                                     Steven Murray
                          Plaintiff

 v.

 UNITED STATES GYPSUM COMPANY                                        Shanthi Gaur
 L&W SUPPLY                                                          Michael Bell
                                                                    Rebecca Lindell
                          Defendants


                                      COURTROOM MINUTES


ORAL ARGUMENT

Court in Session: 2:59 p.m.

Appearance of counsel. Also present is Brett Nerad, in-house counsel for United States Gypsum
Company.

The Court makes findings of fact, conclusions of law. As outlined on the record it is

ORDERED: [19] Defendant United States Gypsum Company’s Motion to Dismiss
         Plaintiff’s First Amended Complaint for Improper Venue Pursuant to
         Fed.R.Civ.P.12(B)(3) or, in the Alternative to Transfer Venue Pursuant to 28
         U.S.C. § 1404 is DENIED.

Argument as to [23] Defendant L&W Supply Corporation’s Federal Rule 12(b)(6) Motion to
Dismiss Plaintiff’s Sixth Claim for Relief by Mr. Bell and Mr. Murray with questions from the
Court.

The Court makes findings of fact, conclusions of law. As outlined on the record it is
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ORDERED:       [23] Defendant L&W Supply Corporation’s Federal Rule 12(b)(6) Motion to
               Dismiss Plaintiff’s Sixth Claim for Relief is GRANTED. Claim is dismissed
               with prejudice.

               [49] Defendant L&W Supply Corporation’s Motion for Sanctions is
               DENIED.

Discussion held on discovery.

Discussion held on the plaintiff’s fees regarding response to [49] Defendant L&W Supply
Corporation’s Motion for Sanctions.

Discussion held on deposition locations.

ORDERED: Settlement conference with the magistrate judge is authorized.

Court in Recess: 3:37 a.m.           Hearing concluded.          Total time in Court: 00:38
